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Fi|| m this information to identify your ease

 

United States Bankruptcy Court for the:

Southem District of Flon`da
= Case number (/rknown): Chapter you are filing under:
§ Chapter 7
0 Chapter 11
U chapter 12
cr chapman El check innis is an

amended 1i|ing

 

Ofiicia| Form 101
Voluntary Petition for individuals Filing for Bankruptcy 12/11

The bankruptcy forms use you and Debtor 1 to refer to a debtor iian alone. A married couple may die a bankruptcy case togethen-calied a
joint case-and in joint cases, these forms use you to ask for informav'on from both debtors. For exam pie, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and
Debtor 2 to distinguish between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, alveh a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m identify yourself

1. ¥our full name

About Debtor 1: About Debtor 2 (Spouse only in a Joint Case):

Write the name that is on your
govemment-issued pidure DANNY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

identification (for example, Fi's‘ name Fi'$f name
your driver‘s license or ALLEN
passport). Middle name Middle name ';;;
Bring your picture W"-DER """?3
identilication to your meeting Lan name Last name
with the trustee.
Sumx (Sr., Jr., u, lll) Sutfix (sr., Jr., ll, m)
2. A|i other names you ,{;:;~
‘ have used in the last 8 Fim name Fi,st name L:~L.§_
years w;.
"CX_
include your married or Middle name Middle name jj
maiden names. r"~
Last name Last name
First name Firs! name
Middle name Middle name
Last name Last name

 

j 3. only the last 4 digits of

yourSocia|Security Xxx `Xx`_4li_5- m `xx°`___---__
number or federal 0R oR

individual Taxpayer

identification number 9 XX ° XX __ __ ._ __ 9 XX ' XX "__ _ __ ___
(iTIN)

 

Ofiiciai Form 101 Volun\ary Petltion for individuals Filing for Bankmptcy page 1

 

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mm DAN NY ALLEN W| LDER ease number (m_,,)
Fil$f Nane Middle Nur\e Lm fhme
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1 4. Any business names

l and Employer
identification Numbers
(E|N) you have used in
the last 8 years

include trade names and
doing business as names

m l have not used any business names or Ele.

 

Business name

 

Business name

T_

H_

El i have not used any business names or E|Ns.

 

Business name

 

Business name

H_

H_'

 

5. Where you live

2512 SE 13TH COURT

 

Number Street

 

if Debtor 2 lives ata different address:

 

Number Sfreef

 

 

 

 

POMPANO BEACH FL 33062

City State ZiP Code City State ZiP Code
BROWARD

Couniy County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

Number Street

 

if Debtor 2's mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

Number Street

 

 

 

 

P.O. Box P.O. Box
city Smre er code C'rty State ZlP Code
e. Why you are choosing Check one: Check one:

 

 

 

 

 

 

 

 

 

this district to file for
bankruptcy m Over the last 180 days before filing this petition, El Over the last 180 days before filing this petition,
l have lived in this district longer than in any l have lived in this district longer than in any
other district. other district
El l have another reason. Exp|ain. El l have another reason. Exp|ain,
(See 28 U.S.C. § 1408.) (See 28 U.S.C. § 1408.)
Ol‘licial Form 101 Vo|untary Petition for individuals Filing for Bankmptcy page 2

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vernon DANNY ALLEN W|LDER case number(rm)

Flrst Nuvre Middle Nsne las Nlme

Te|i the court About Your Bankruptcy Case

 

1. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for lndividuals Filing
Bankruptcy Code you for Banknrptcy (Fonn 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under m Chapter 7

El Chapter 11
El Chapter 12
El Chapter 13

a. How you will pay the fee Cl l will pay the entire fee when l file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

Cl l need to pay the fee in installments |f you choose this option, sign and attach the
Applicafion for individuals to Pay The Filing Fee in installments (Oflicial Form 103A).

m l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By lawl a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). |f you choose this option, you must fill out the Applicafion to Have the
Chapter 7 Filing Fee Waived (Oflicia| Form 103B) and file it with your petition,

 

9. Have you filed for E| N°
:;;';l;“;:;z;""“" the m Yes_ wm Fron'da Sourhem when 08/14/2009 Case numbe, 09-26878-Jr<0

MM / DD /YYYY
§§ Dismd M When 03/18/2016 Case number 16'13872'RBR

 

 

 

 

 

MM/ DD/YYYY
District ___ When ____________ Case number
MM/ 00 /YYYY
10. Are any bankruptcy m N°
cases pending or being
filed by a spouse who is a Yes- Debl°' Relationship to you
not filing this case with Dism when case number rr known
you, or by a business MM / DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District ____ When __________ Case number, ilknown
MM / 00 / YYYY
11- D° _y°u rent your m No. Go to line 12.
res'd°n°°? El Yes. Has your landlord obtained an eviction judgment against you?

El No. Go to line 12.

El Yes. Fi|l out Initial Statement About an Eviction Judgment Against You (Fonn 101A) and file it as
part of this bankruptcy petition,

Official For'm 101 Vo|untary Petition for individuals Filing for Bankruptcy page 3

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Debtor 1 DAN NY ALLE N W| LD ER Case number (ifmom)

 

 

First Name Middle Name Lasl Name

Report About Any Businesses You own as a Sole Proprietor

 

12. Are you a sole proprietor m No_ 30 to pan 4_
of any full- or part-time
business? i:l Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

aco oration, artnershi ,or
LLC_rp p p Number Street

 

Name of business, if any

 

lf you have more than one
sole proprietorship, use a
separate sheet and attach it

 

 

to this petrtron. Cny state Z'P Code
Check the appropriate box to describe your business:
i:l Health Care Business (as defined in 11 U.S.C. § 101(27A))
i:l Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
n Stockbroker (as defined in 11 U.S.C. § 101(53A))
El commodity Bror<er (as defined in 11 u.s.c. § 101(6))
n None of the above
13. Are you filing under lf you are filing under Chapter 1 1, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. lf you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure rn 11 U_S.C_ § 1116(1)(B).
d r?
ebt° _ _ n No. l am not filing under Chapter 11_
For a definrtron of small
business debtor- $e€ n No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
11 U-S-C- § 101(51D). the Bankruptcy code

n ¥es. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankn.rptcy Code.

m Report if You own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any al No
ro that oses or is
:"e;;:yt° pospe a threat n Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City Siate Z\P Code

Oflicial Form 101 Vo|untary Petitlon for individuals Filing for Bankruptcy page 4

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oeoioii DANNY ALLEN W|LQER

Fi|SiNIne Middle Nm

La§Name

Case number (iriinonn)

Part 5: Explaln Your Efforts to Receive a Briefing About Credlt Counsellng

 

15. Teii the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy, You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to fiie.

if you file anyway, the court
can dismiss your casel you
will lose whatever filing fee
you paidl and your creditors
can begin collection activities
again.

Ofiicia| Form 101

About Debtor 1:

You must check one:

El l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

El l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of com pletion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

il l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requimment.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed ifthe court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

El l am not required to receive a briefing about
credit counseling because of:

El lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

n Dlsability. My physical disability causes me
to be unable to participate in a
briefing in person. by phone, or
through the intemet, even after l
reasonably tried to do so.

El Actfve duty. l am currently on active military
duty in a military combat zone,

if you believe you are not required to receive a
briefing about credit counseling. you must file a
motion for waiver of credit counseling with the court.

Vo|untary Petition for individuals Filing for

About Debtor 2 (Spouse 0nly in a Joint Case):

You must check one:

El l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and i received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

El l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of com pletion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

El l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed ifthe court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you fiie.
You must file a certificate fl'om the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

El l am not required to receive a briefing about
credit counseling because of:

n lncapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El Disabiliiy. My physical disability causes me
to be unable to participate iri a
briefing in person, by phone, or
through the intemet, even after i
reasonably tried to do so.

El Actfve duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling. you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5

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oebtor1 DANNY ALLEN

Flm Name MiddieNune

W|LDER

Last Name

Case number (ir mown)

m Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a Are your debts primarily consumer debts? Consumerdebts are defined in 11 U.S.C. § 101(8)
as “incun'ed by an individual primarily for a personal, familyl or household purpose.”

El No. Go to line 16b_
21 Yes. Go to line 17.

16b_ Are your debts primarily business debts? Busl`ness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

El No. Go to line 16c.
El Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

11. Are you filing under
Chapter 7?

Do you estimate that after

El No. | am not filing under Chapter 7. Go to line 18.

m Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

 

 

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and q N°
administrative expenses
are paid that funds will be E' Yes
available for distribution
to unsecured creditors?
rs. How many creditors do 21 1-49 El 1,000-5,000 El 25,001-50,000
you estimate that you Ei 50-99 El 5.001-10,000 El 50.001-100,000
°We? Ei 100-199 El 10,001-25,000 El More than 100,000
El 200-999
19. How much do you il $c$e'>o.ooo El $1,000,001-$10 million El $500,000,001-31 billion

estimate your assets to
be worth?

Ei $50.001-$100,000
Ei $100,001-$500,000
Ei $500,001-$1 million

El $10,000,001-$50 million
El $50,000,001-$100 million
El $100,000.001-$500 million

El $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
El More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

Part 7: Sign Below

For you

Oflicial Form 101

 

Ei $c$so,ooo

Ei $50,001-$100,000
Ei $100,001-$500,000
Ei $500,001-$1 million

iZl $1,000,001-$10 million

El $10,000,001-$50 million
El $50,000,001-$100 million
El $100.000,001-$500 million

El $500,000,001-$1 billion

El $1,000,000.001-$10 billion
El $1o_ooo,ooo,001-$50 billion
El More than $50 billion

l have examined this petition, and l declare under penalty of perjury that the information provided is tnle and

CO l’i'eCf_

if | have chosen to file under Chapter 7, l am aware that | may proceed, `rfeligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7_

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250.000l or imprisonment for up to 20 years, or both.

  

,__,_-~

2, 1341, 1519, and 3571.

X

 

Sign ure of Debtor 1
Executed on 10/22/2018

 

Signature of Debtor 2

Executed on

MM /DD /YYYY

»

Vo|untary Petition for individuals Filing for Bankruptcy

MM/ DD /YYYY

page 6

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Debf0f1 DAN NY ALLEN W| LDER Case number (.'fm)

Fll§N¢ne MiddieN-ne

l, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligib|e. l also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) andl in a case in which § 707(b)(4)(D) applies, certify that l have no
lt you are not represented knowledge after an inquiry that the fnfomiation in the schedules hied with the petition is inconect.

by an attomey, you do not

For your attomey, if you are
represented by one

 

 

 

 

 

 

 

 

need to file this page. x
Date
Signature ofAftomey for Debtor MM / DD /YYYY
Printed name
Firm name
Number Street
City State ZiP Code
Contact phone Email address
Bar number State

Ofiicia| Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 7

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Debtor1 DAN NY ALLEN W| LDER Case number (irlmown)

Flrst Name Middle Name L,ast Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy Wltn°ut an should understand that many people find it extremely difficult to represent
attorney themselves successful|y. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attomey.
if you are represented by
an attomey, you do not To be successful, you must conectly file and handle your bankruptcy case. The rules are very

need to file this page_ technical, and a mistake or inaction may affect your rights. For examplel your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
flrrn if your case is selected for audit. lf that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcyl you must list that debt
in your schedules lf you do not list a debt, the debt may not be discharged lf you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
casel such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfull and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

|f you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attomey. The court will not treat you differently because you are filing for yourse|f. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

n No

m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

n No
m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
m No

n Yes. Name of Person .
Attach Bankmptcy Petition Preparefs Notl'ce, Declaration, and Signature (Oflicial Form 119).

By signing here, l acknowledge that l understand the risks involved in filing without an attomey. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an

  
 

 

 

 

 

 

atto cause me to lose my rights or property if l do not property handle the case.
of X
Signature of Debtor 1 Signature of Debtor 2
Date 1 0/22/201 8 Date
MM/DD /YYYY _ MM/ DD/YYYY
Contact phone (954) 648"5731 Contact phone
Cell phone (954) 648'5731 Cel| phone
small address dannyawilder@qmail.com smell address

 

 

     

Oflicial Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 8

Case 18-23101-RBR Doc 1

DANNY ALLEN W|LDER
XXX-XX-4235

L|ST OF CRED|TORS

BANK OF AMER|CA

PO BOX 31785

TAMPA, FL 33631-3785
ACCOUNT #123595788

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